              Case 1:20-cv-04691-MKV Document 51 Filed 10/30/20 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT NEW YORK

                                                    X
NICOLAS GOUREAU and STEPHANIE                       :
MENKIN, individually and derivatively on            :
behalf of GOOBERRY CORP., a New York                :
Corporation,                                        :
                                                    :
         Plaintiff,
                                                    :    Civil Action No. 20-cv-4691-MKV
         - against -                                :
                                                    :
MARCUS LEMONIS, an individual, ML                   :
RETAIL, LLC, a Delaware limited liability                ECF Case
                                                    :
company, and MARCUS LEMONIS, LLC, a
                                                    :
Delaware limited liability company, and
MACHETE CORPORATION d/b/a MACHETE                   :
PRODUCTIONS, a California corporation,              :    Oral Argument Requested
                                                    :
         Defendants,                                :
and                                                 :
                                                    :
GOOBERRY CORP., a New York corporation,
                                                    :
         Nominal Defendant.                         :
                                                    X


       DECLARATION OF KIMBERLY DONNAN IN SUPPORT OF MACHETE
   CORPORATION D/B/A MACHETE PRODUCTIONS’ MOTION TO DISMISS THE
    FIRST AMENDED COMPLAINT, OR, IN THE ALTERNATIVE, TO TRANSFER
                              VENUE

         1.        I am Co-Executive Producer of The Profit. I make this Declaration based on my

personal knowledge and am competent to testify to the same.

         2.        I have been affiliated with Machete Corporation d/b/a Machete Productions

(“Machete”) since 2012 and I am familiar with their business.

         3.        Machete is a production company that is engaged exclusively in the business of

developing and producing critically acclaimed content.

         4.        Machete did not create or develop The Profit. Rather, CNBC retained Machete

for the second season of The Profit to produce the show.



4838-2026-8496v.1 0112823-000003
              Case 1:20-cv-04691-MKV Document 51 Filed 10/30/20 Page 2 of 3




         5.        In order to appear on The Profit, each and every Plaintiff signed substantial

release agreements that included, among other clauses, mandatory mediation and arbitration

clauses; a choice-of-venue clause for California; full releases of claims against Machete; explicit

disclaimers against reliance on Machete; and the assumption of all risks related to following

Lemonis’ advice.

         6.        Attached hereto as Exhibit A is a true and correct copy of Plaintiff Nicolas

Goureau’s Appearance Release Form, Arbitration Provision and Voluntary Participation

Agreement, which he entered into on June 3, 2014.

         7.        Attached hereto as Exhibit B is a true and correct copy of Plaintiff Stephanie

Menkin’s Appearance Release Form, Arbitration Provision and Voluntary Participation

Agreement, which she entered into on June 2, 2014.

         8.        Attached hereto as Exhibit C is a true and correct copy of Plaintiff Gooberry

Corporation’s Reality Participant Agreement, Release & Arbitration Provisions – Business,

which it entered into on June 3, 2014.

         9.        On May 14, 2014, I sent Plaintiffs release agreements to sign in order to appear

on the show via email.             Attached hereto as Exhibit D is a true and correct copy of that

correspondence.

         10.       On May 16, 2014, Plaintiffs provided comments and suggested revisions

regarding the release agreements via a telephone conversations, the content of which I

subsequently confirmed by email. Attached hereto as Exhibit E is a true and correct copy of that

email correspondence.




4838-2026-8496v.1 0112823-000003
                                                     2
            Case 1:20-cv-04691-MKV Document 51 Filed 10/30/20 Page 3 of 3




         11.       On June 2, 2014, I sent Plaintiffs revised redline and clean drafts of the release

agreements via email, which incorporated the revisions CNBC was willing address. Shortly

thereafter, Plaintiffs signed and returned the executed release agreements. Attached hereto as

Exhibit F is a true and correct copy of that correspondence.

         I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.



         Executed this 30th day of October 2020.




                                                        Kimberly Donnan




4838-2026-8496v.1 0112823-000003
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